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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                            ENTERED
                                                                                                              07/06/2021
                                                             )
In re:                                                       )
                                                             ) Chapter 11
NEIMAN MARCUS GROUP LTD LLC, et al., 1                       )
                                                             ) Case No. 20-32519 (DRJ)
                  Reorganized Debtors.                       )
                                                             ) (Jointly Administered)
                                                             )

                 ORDER SUSTAINING LIQUIDATING TRUSTEE’S
          EIGHTH OMNIBUS OBJECTION TO CLAIMS (RESOLVED CLAIMS)

                                         [Related Docket No. 2415]

         Upon the Objection2 of the Liquidating Trustee seeking entry of an order (the “Order”)

disallowing and expunging the claims identified on Schedule 1 attached hereto, it is HEREBY

ORDERED THAT:

         1.       The Objection is sustained as set forth herein.

         2.       Each claim identified on Schedule 1 to this Order is disallowed in its entirety as

identified on Schedule 1 to this Order.

         3.       The hearing on the Objection as it relates to the claims identified on Schedule 2 is

hereby adjourned to a later date to be determined.3

1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc.
    (5530); Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015);
    Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
    Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial
    Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC
    (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC
    (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318);
    NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth
    Avenue Leasing Company (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618
    Main Street, Dallas, Texas 75201.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
    Trustee’s Eighth Omnibus Objection to Claims (Resolved Claims).


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         4.       Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

         5.       Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

         6.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any

party’s right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay

any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Objection or any order granting the relief requested by this Objection;

(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

         7.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.



                              [Remainder of Page Intentionally Left Blank]




3
    For the avoidance of doubt, the claims set forth on Schedule 3 were withdrawn by separate notices dated April
    27, 2021 and May 18, 2021, respectively. See Notice of Withdrawal of Liquidating Trustee’s Eighth Omnibus
    Objection to Claims (Resolved Claims) Solely as it Relates to Claim Number 1766 [ECF No. 2424]; Notice of
    Withdrawal of Liquidating Trustee’s Eighth Omnibus Objection to Claims (Resolved Claims) Solely as it Relates
    to Claim Number 1754 [ECF No. 2477].


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        8.       The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        9.       This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.

Houston,                                   Texas
Date:
   Signed: July 01, 2021.               , 2021

                                                     THE HONORABLE DAVID R. JONES
                                                   ____________________________________
                                                     CHIEF
                                                   DAVID R. UNITED
                                                            JONES STATES BANKRUPTCY
                                                     JUDGE
                                                   UNITED STATES BANKRUPTCY JUDGE




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                         Schedule 1

                 Sustained Claim Objections
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                                                                   Schedule 1
Ref     Name of                                                                                                                    Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts                        Allowed Claim
 #      Claimant                                                                                                                    Objection1
                                                               Administrative: $0.00               Administrative: $0.00
      LEGACY PLAN                                              Secured: $0.00                      Secured: $0.00                Expunge general
      OF THE           The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
 1    NATIONAL         Marcus Group    2315       07/16/2020   General Unsecured: $25,221,692.00   General Unsecured: $0.00      amount as general
      RETIREMENT       LLC                                                                                                       unsecured claim has
      FUND                                                     Total: $25,221,692.00               Total: $0.00                  been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
      LEGACY PLAN                                              Secured: $0.00                      Secured: $0.00                Expunge general
      OF THE                                                   Priority: $0.00                     Priority: $0.00               unsecured claim
 2    NATIONAL         NMGP, LLC       2316       07/16/2020   General Unsecured: $25,221,692.00   General Unsecured: $0.00      amount as general
      RETIREMENT                                                                                                                 unsecured claim has
      FUND                                                     Total: $25,221,692.00               Total: $0.00                  been resolved.

                                                               Administrative: $93,671.69          Administrative: $93,671.69
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SMURFIT KAPPA The Neiman                                 Priority: $0.00                     Priority: $0.00               unsecured claim
 3    NORTH AMERICA Marcus Group       3296       10/26/2020   General Unsecured: $244,395.81      General Unsecured: $0.00      amount as general
      LLC           LLC                                                                                                          unsecured claim has
                                                               Total: $338,067.50                  Total: $93,671.69             been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SOLOW
                       The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
      BUILDING
 4                     Marcus Group    2406       7/20/2020    General Unsecured: $19,307.08       General Unsecured: $0.00      amount as general
      COMPANY III,
                       LLC                                                                                                       unsecured claim has
      L.L.C.
                                                               Total: $19,307.08                   Total: $0.00                  been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
                                                               Priority: $0.00                     Priority: $0.00               unsecured claim
      SOURCELINK     Neiman Marcus
 5                                     1149       6/9/2020     General Unsecured: $68,573.62       General Unsecured: $0.00      amount as general
      ACQUISITON LLC Group LTD LLC
                                                                                                                                 unsecured claim has
                                                               Total: $68,573.62                   Total: $0.00                  been resolved.

                                                               Administrative: $213,322.33         Administrative: $213,322.33
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SPG CENTER,                                              Priority: $0.00                     Priority: $0.00               unsecured claim
                       Neiman Marcus
 6    LLC STANFORD                     1633       7/14/2020    General Unsecured: $342,549.64      General Unsecured: $0.00      amount as general
                       Group LTD LLC
      SC                                                                                                                         unsecured claim has
                                                               Total: $555,871.97                  Total: $213,322.33            been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
                       The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
 7    STYLYZE INC      Marcus Group    1026       6/1/2020     General Unsecured: $11,065.00       General Unsecured: $0.00      amount as general
                       LLC                                                                                                       unsecured claim has
                                                               Total: $11,065.00                   Total: $0.00                  been resolved.

                                                               Administrative: $0.00               Administrative: $0.00
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SUNBEAM          The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
 8    DEVELOPMENT      Marcus Group    1908       7/20/2020    General Unsecured: $52,016.33       General Unsecured: $0.00      amount as general
      CORPORATION      LLC                                                                                                       unsecured claim has
                                                               Total: $52,016.33                   Total: $0.00                  been resolved.

                                                               Administrative: $60,182.28          Administrative: $60,182.28
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
                                                               Priority: $0.00                     Priority: $0.00               unsecured claim
      SUNRISE MILLS    Neiman Marcus
 9                                     1768       7/16/2020    General Unsecured: $100.00          General Unsecured: $0.00      amount as general
      (MLP), LP        Group LTD LLC
                                                                                                                                 unsecured claim has
                                                               Total: $60,282.28                   Total: $60,182.28             been resolved.

                                                               Administrative: $3,191.99           Administrative: $3,191.99
                                                               Secured: $0.00                      Secured: $0.00                Expunge general
      SYSCO            The Neiman                              Priority: $0.00                     Priority: $0.00               unsecured claim
10    CORPORATION      Marcus Group    1465       7/2/2020     General Unsecured: $390,360.10      General Unsecured: $0.00      amount as general
      AND AFFILIATES   LLC                                                                                                       unsecured claim has
                                                               Total: $393,552.09                  Total: $3,191.99              been resolved.

                                                               Administrative: $9,801.01           Administrative: $9,801.01
      TAYLOR                                                   Secured: $0.00                      Secured: $0.00                Expunge general
      COMMUNICATIO                                             Priority: $0.00                     Priority: $0.00               unsecured claim
                    Neiman Marcus
11    NS, INC. (FKA                    2014       7/17/2020    General Unsecured: $31,639.90       General Unsecured: $0.00      amount as general
                    Group LTD LLC
      STANDARD                                                                                                                   unsecured claim has
      REGISTER)                                                Total: $41,440.91                   Total: $9,801.01              been resolved.




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                                                                   Schedule 1
Ref     Name of                                                                                                               Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts                     Allowed Claim
 #      Claimant                                                                                                               Objection1
                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      THE KALENCOM     Neiman Marcus
12                                     891        5/26/2020    General Unsecured: $6,918.98     General Unsecured: $0.00    amount as general
      CORPORATION      Group LTD LLC
                                                                                                                            unsecured claim has
                                                               Total: $6,918.98                 Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      THE RETAIL                                               Priority: $65,502.12             Priority: $65,502.12        unsecured claim
                       Neiman Marcus
13    PROPERTY                         1643       7/14/2020    General Unsecured: $325,288.86   General Unsecured: $0.00    amount as general
                       Group LTD LLC
      TRUST                                                                                                                 unsecured claim has
                                                               Total: $390,790.98               Total: $65,502.12           been resolved.

                                                               Administrative: $7,422.76        Administrative: $7,422.76
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                       The Neiman                              Priority: $0.00                  Priority: $0.00             unsecured claim
      TRANSOLUTION
14                     Marcus Group    1991       7/20/2020    General Unsecured: $14,610.28    General Unsecured: $0.00    amount as general
      S, LLC
                       LLC                                                                                                  unsecured claim has
                                                               Total: $22,033.04                Total: $7,422.76            been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      TRANSPERFECT
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      REMOTE        Neiman Marcus
15                                     2098       7/21/2020    General Unsecured: $4,863.60     General Unsecured: $0.00    amount as general
      INTERPRETING, Group LTD LLC
                                                                                                                            unsecured claim has
      INC.
                                                               Total: $4,863.60                 Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      TRANSPERFECT
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      REMOTE        Neiman Marcus
16                                     2097       7/21/2020    General Unsecured: $2,754.90     General Unsecured: $0.00    amount as general
      INTERPRETING, Group LTD LLC
                                                                                                                            unsecured claim has
      INC.
                                                               Total: $2,754.90                 Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      TRANSPERFECT
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      REMOTE        Neiman Marcus
17                                     2539       7/27/2020    General Unsecured: $365.40       General Unsecured: $0.00    amount as general
      INTERPRETING, Group LTD LLC
                                                                                                                            unsecured claim has
      INC.
                                                               Total: $365.40                   Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                       The Neiman                              Priority: $0.00                  Priority: $0.00             unsecured claim
      TRAVEL AND
18                     Marcus Group    1541       7/8/2020     General Unsecured: $314,010.64   General Unsecured: $0.00    amount as general
      TRANSPORT
                       LLC                                                                                                  unsecured claim has
                                                               Total: $314,010.64               Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      UBERTEJAS LLC,                                           Priority: $0.00                  Priority: $0.00             unsecured claim
                     Neiman Marcus
19    DBA BIZCLOUD                     871        5/26/2020    General Unsecured: $71,400.00    General Unsecured: $0.00    amount as general
                     Group LTD LLC
      EXPERTS                                                                                                               unsecured claim has
                                                               Total: $71,400.00                Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                      The Neiman                               Priority: $0.00                  Priority: $0.00             unsecured claim
      URBAN AIRSHIP,
20                    Marcus Group     946        5/27/2020    General Unsecured: $44,471.40    General Unsecured: $0.00    amount as general
      INC DBA AIRSHIP
                      LLC                                                                                                   unsecured claim has
                                                               Total: $44,471.40                Total: $0.00                been resolved.

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      VECTOR           Neiman Marcus
21                                     1483       7/6/2020     General Unsecured: $6,392.19     General Unsecured: $0.00    amount as general
      SECURITY, INC.   Group LTD LLC
                                                                                                                            unsecured claim has
                                                               Total: $6,392.19                 Total: $0.00                been resolved.


                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
                                                               Priority: $0.00                  Priority: $0.00             unsecured claim
      VERINT           Neiman Marcus
22                                     2423       7/22/2020    General Unsecured: $60,485.71    General Unsecured: $0.00    amount as general
      SYSTEMS INC.     Group LTD LLC
                                                                                                                            unsecured claim has
                                                               Total: $60,485.71                Total: $0.00                been resolved.




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                                                                 Schedule 1
Ref     Name of                                                                                                              Reasoning for
                     Debtor Name      Claim #   Date Filed            Claim Amounts                     Allowed Claim
 #      Claimant                                                                                                              Objection1
                                                             Administrative: $0.00            Administrative: $0.00
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                     The Neiman                              Priority: $0.00                  Priority: $0.00              unsecured claim
      VIPAC
23                   Marcus Group    1478       7/2/2020     General Unsecured: $26,342.80    General Unsecured: $0.00     amount as general
      PACKAGING
                     LLC                                                                                                   unsecured claim has
                                                             Total: $26,342.80                Total: $0.00                 been resolved.


                                                             Administrative: $12,472.17       Administrative: $12,472.17
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                                                             Priority: $0.00                  Priority: $0.00              unsecured claim
      WESTCHESTER    Neiman Marcus
24                                   1631       7/14/2020    General Unsecured: $10,482.45    General Unsecured: $0.00     amount as general
      MALL, LLC      Group LTD LLC
                                                                                                                           unsecured claim has
                                                             Total: $22,954.62                Total: $12,472.17            been resolved.

                                                             Administrative: $0.00            Administrative: $0.00
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                                                             Priority: $0.00                  Priority: $0.00              unsecured claim
      WS PACKAGING   Neiman Marcus
25                                   2563       7/29/2020    General Unsecured: $3,727.08     General Unsecured: $0.00     amount as general
      GROUP INC      Group LTD LLC
                                                                                                                           unsecured claim has
                                                             Total: $3,727.08                 Total: $0.00                 been resolved.

                                                             Administrative: $0.00            Administrative: $0.00
                                                             Secured: $0.00                   Secured: $0.00               Expunge general
                                                             Priority: $0.00                  Priority: $0.00              unsecured claim
                     Neiman Marcus
26    ZYSTON LLC                     1040       6/2/2020     General Unsecured: $129,000.00   General Unsecured: $0.00     amount as general
                     Group LTD LLC
                                                                                                                           unsecured claim has
                                                             Total: $129,000.00               Total: $0.00                 been resolved.




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                         Schedule 2

                 Adjourned Claim Objections
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                                                                Schedule 2

Ref     Name of                                                                                                          Reasoning for
                    Debtor Name      Claim #   Date Filed            Claim Amounts                    Allowed Claim
 #      Claimant                                                                                                          Objection1
                                                            Administrative: $0.00           Administrative: $0.00
                                                            Secured: $0.00                  Secured: $0.00             Expunge general
                                                            Priority: $0.00                 Priority: $0.00            unsecured claim
      VERTIV        Neiman Marcus
 1                                  1756       7/17/2020    General Unsecured: $53,691.39   General Unsecured: $0.00   amount as general
      CORPORATION   Group LTD LLC
                                                                                                                       unsecured claim has
                                                            Total: $53,691.39               Total: $0.00               been resolved.




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                         Schedule 3

                 Withdrawn Claim Objections
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                                                                   Schedule 3

Ref     Name of                                                                                                               Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts                     Allowed Claim
 #      Claimant                                                                                                               Objection1
                                                               Administrative: $2,771.72        Administrative: $2,771.72
                                                                                                                            Expunge general
                                                               Secured: $0.00                   Secured: $0.00
      TAUBMAN                                                                                                               unsecured amounts as
                                                               Priority: $0.00                  Priority: $0.00
      CHERRY CREEK     Neiman Marcus                                                                                        the Debtors are not
 1                                     1766       7/17/2020    General Unsecured: $279,364.66   General Unsecured: $0.00
      SHOPPING         Group LTD LLC                                                                                        liable because the
      CENTER, L.L.C.                                                                                                        claim has been
                                                               Total: $282,136.38               Total: $2,771.72
                                                                                                                            resolved

                                                               Administrative: $0.00            Administrative: $0.00
                                                               Secured: $0.00                   Secured: $0.00              Expunge general
      YUSEN           The Neiman                               Priority: $0.00                  Priority: $0.00             unsecured claim
 2    LOGISTICS       Marcus Group     1754       7/17/2020    General Unsecured: $14,356.17    General Unsecured: $0.00    amount as general
      (AMERICAS) INC. LLC                                                                                                   unsecured claim has
                                                               Total: $14,356.17                Total: $0.00                been resolved.




                                                                          -1-
